     Case 1:91-cr-01032-MW-GRJ           Document 781        Filed 01/04/06      Page 1 of 2


                                                                                          Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:91-cr-01032-MP-AK

JOHN COLLIER WIMS,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 778, the Report and Recommendation of the

Magistrate Judge, recommending that Mr. Wims' § 2255 motion be denied. Previously, Mr.

Wims was given the chance to make Apprendi arguments to the Eleventh Circuit, but the

Eleventh Circuit, applying a plain error test, held that his sentence should not be vacated. Mr.

Wims now argues that his appellate counsel was ineffective for failing to argue constructive

amendment of the indictment when he was sentenced for drug quantities that were not charged in

the indictment. The Court agrees with the Magistrate Judge that although counsel did not use the

term "constructive amendment" she clearly communicated the issue to the panel, using the very

cases defendant now relies upon. Accordingly, she was not ineffective in this way.

       Appellate counsel also raised the issue of whether Mr. Wims was improperly being held

responsible for a large single conspiracy when there really were many smaller conspiracies most

of which did not involve Mr. Wims. Since that argument was made, the Court agrees that the

issue was raised and rejected by the Eleventh Circuit and cannot be the basis of an

ineffectiveness claim.

       Finally, the bulk of Mr. Wims' written objections to the Report and Recommendation is
     Case 1:91-cr-01032-MW-GRJ             Document 781        Filed 01/04/06      Page 2 of 2


                                                                                           Page 2 of 2


that Booker and Blakely should apply retroactively to cases on collateral attack. However, this

argument has been expressly rejected by the Eleventh Circuit in Varela v. United States, 400

F.3d 864 (11th Cir. 2005)("Therefore, as the Supreme Court concluded in Schriro, we conclude

that Booker's constitutional rule falls squarely under the category of new rules of criminal

procedure that do not apply retroactively to § 2255 cases on collateral review.").

        Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       The Report and Recommendation of the Magistrate Judge is adopted and
                 incorporated herein.

        2.       This action is DISMISSED, and the clerk is directed to close the file.


        DONE AND ORDERED this              4th day of January, 2006


                                         s/Maurice M. Paul
                                    Maurice M. Paul, Senior District Judge




Case No: 1:91-cr-01032-MP-AK
